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          Supporting
Documentation
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                                                                   3748
 Fill in this information to identify your case and this filing:

 Debtor 1                    Richard J Spalding
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Tamara L Spalding
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF PENNSYLVANIA

 Case number                                                                                                                                                # Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   # No. Go to Part 2.
   " Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        148 Schoolview Lane                                                       #    Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                  #    Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  #
                                                                                  #    Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Oxford                            PA        19363-0000                    #    Land                                       entire property?           portion you own?
        City                              State              ZIP Code             #    Investment property                               $301,782.00                $301,782.00
                                                                                  #    Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  #    Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                  #    Debtor 1 only
        Chester                                                                   #    Debtor 2 only
        County                                                                    "    Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  #    At least one of the debtors and another
                                                                                                                                  #    (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $301,782.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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                                                                   3748
 Fill in this information to identify your case:

 Debtor 1                 Richard J Spalding
                          First Name                        Middle Name                   Last Name

 Debtor 2                 Tamara L Spalding
 (Spouse if, filing)      First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number
 (if known)
                                                                                                                                      # Check if this is an
                                                                                                                                          amended filing


Official Form 106C
                                                                                                                                                               4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      # You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      " You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      148 Schoolview Lane Oxford, PA                                                                                           11 U.S.C. § 522(d)(1)
      19363 Chester County
                                                                     $301,782.00      "                        $17,209.13
      Line from Schedule A/B: 1.1                                                     # 100% of fair market value, up to
                                                                                            any applicable statutory limit

      Kitchen Furniture & Appliances                                                                                           11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                          $500.00     "                            $500.00
                                                                                      # 100% of fair market value, up to
                                                                                            any applicable statutory limit

      Dining Room Set                                                                                                          11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.2
                                                                       $1,000.00      "                          $1,000.00
                                                                                      # 100% of fair market value, up to
                                                                                            any applicable statutory limit

      Living Room Set                                                                                                          11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.3
                                                                       $1,500.00      "                          $1,500.00
                                                                                      # 100% of fair market value, up to
                                                                                            any applicable statutory limit

      Bedroom Set                                                                                                              11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.4
                                                                       $2,000.00      "                          $2,000.00
                                                                                      # 100% of fair market value, up to
                                                                                            any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Fill in this information to identify your case:

 Debtor 1                  Richard J Spalding
                           First Name                       Middle Name               Last Name

 Debtor 2                  Tamara L Spalding
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number
 (if known)
                                                                                                                        # Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Ford Motor Credit Comp                             # Surrender the property.                     # No
    name:                                                                 # Retain the property and redeem it.
                                                                          " Retain the property and enter into a        " Yes
    Description of       2016 Ford F150 36,000 miles                        Reaffirmation Agreement.
    property                                                              # Retain the property and [explain]:
    securing debt:



    Creditor's         Ford Motor Credit Comp                             # Surrender the property.                     # No
    name:                                                                 # Retain the property and redeem it.
                                                                          " Retain the property and enter into a        " Yes
    Description of       2017 Ford Fusion 33,000 miles                      Reaffirmation Agreement.
    property                                                              # Retain the property and [explain]:
    securing debt:



    Creditor's         Nationstar/Mr. Cooper                              " Surrender the property.                     # No
    name:                                                                 # Retain the property and redeem it.
                                                                          # Retain the property and enter into a        " Yes
    Description of       148 Schoolview Lane Oxford,                        Reaffirmation Agreement.
    property             PA 19363 Chester County                          # Retain the property and [explain]:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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